                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                  LAKE CHARLES DIVISION


CYNTHIA FRISBIE                                        CASE NO. 2:21-CV-03658 LEAD
                                                       c/w 2:22-2741 (MEMBER)
VERSUS                                                 JUDGE JAMES D. CAIN, JR.

STATE FARM FIRE & CASUALTY CO                          MAGISTRATE JUDGE KAY

                                     MEMORANDUM ORDER

              Before the Court is “State Farm’s Motion In Limine to Exclude (1) any reference to

the Term “Bad Faith” and/or State Farm’s Claim Handling and Practices, 2) Other Claims

and 3) Any Reference to the Insurance Industry’s Claim Handling in the Region” (Doc.

88).

                                         INTRODUCTION

              This suit arises from Hurricane Laura and Hurricane Delta damage to a residence at

3321 Landfair Street, Lake Charles, Louisiana. The residence is owned by the estate of

Bobby Shelton and was insured at all relevant times under a policy issued by State Farm.

Cynthia Frisbie, as executor of the estate, filed suit in this Court on October 16, 2021,

alleging that State Farm failed to timely or adequately pay for covered losses under the

policy. Frisbie v. State Farm Fire & Cas. Co., No. 2:21-cv-3658 (W.D. La.). 1 On August

16, 2022, with the Frisbie suit still pending, Cat 5 Pro LLC (“Cat 5”) filed suit against State

Farm in this Court based on mitigation work it did at the Shelton residence. Cat 5 Pro LLC




1
    Doc. 1.
v. State Farm Fire & Cas. Co., No. 2:22-cv-2741 (W.D. La.). 2 Cat 5 alleged that Ms.

Frisbie had assigned her rights under the policy to Cat 5, and that it was still owed

$69,625.27 (taking into account a payment of $16,657.42) from State Farm in unpaid

invoices for the work it completed at the property. 3 Accordingly, it raised claims of breach

of contract and bad faith under Louisiana law.

         The two suits proceeded through the Case Management Order for first-party

hurricane claims but did not resolve. They were consolidated at State Farm’s motion and

have been set for jury trial before the undersigned on January 29, 2024. 4 On September 26,

2023, the undersigned dismissed Cat 5’s bad faith claims on the grounds that these had not

been validly assigned by Ms. Frisbie. 5 On November 17, 2023, Cat 5 filed suit against State

Farm in the Fourteenth Judicial District Court, Calcasieu Parish, Louisiana. 6 There it raised

breach of good faith and fair dealing, breach of contract, detrimental reliance, and fraud

claims under Louisiana law against the insurer based on the $69,625.27 in unpaid invoices

for its work on the property at 3321 Landfair Street. It also asserted that the amount in

controversy “does not exceed $75,000.” 7




2
  Id.
3
  Id.
4
  Frisbie, No. 2:21-cv-3658, at doc. 30.
5
  Docs. 43, 44.
6
  Doc. 1, att. 1.
7
  Id. at 1.

                                           Page 2 of 4
        State Farm removed the suit to this Court on the basis of diversity jurisdiction, 28

U.S.C. § 1332. Plaintiff filed a Motion to Remand, 8 which this Court denied. 9 State Farm

then filed a Motion to Dismiss the state filed removed suit, which this Court granted. 10

                                  LAW AND ANALYSIS

        State Farm argues that because the Court has already dismissed the bad faith claim,

any evidence, testimony, reference to or mention to the jury of the term “bad faith” and/or

State Farm’s claims handling (including its written practices and procedures) is not relevant

and can only be prejudicial to State Farm as it infers a potential to penalize State Farm. As

to any testimony, argument, or introduction of evidence related to State Farm’s and/or the

insurance industry’s claim handling in the region, State Farm argues that such is irrelevant

and unfairly prejudicial to State Farm.

        Defendant Cat 5 maintains that the entire basis of this litigation is over whether State

Farm correctly adjusted the invoice, and that State Farm attempts to conflate “bad faith” as

a term of art that can only be used to refer to the actions which govern Louisiana Revised

Statutes 22:1973 and 22:1892. Cat 5 argues that State Farm acted in bad faith as to the

adjustment of its invoice. Cat 5 informs the Court that it is not going to present an argument

regarding its entitlement to penalties and attorney’s fees under Louisiana Revised Statutes

22:1973 and 22:1892. However, it argues that it is entitled to introduce a timeline of events

as to the adjustment of Cat 5’s invoice. Considering that this case now involves a breach

of contract concerning the disputed unpaid invoice amount, the Court will grant State


8
  Doc. 8.
9
  Docs. 14 and 15.
10
   Doc. 106.

                                          Page 3 of 4
Farm’s Motion in Limine and prohibit any mention, evidence, argument or testimony of

bad faith.

       IT IS ORDERED that the State Farm’s Motion In Limine to Exclude (1) any

reference to the Term “Bad Faith” and/or State Farm’s Claim Handling and Practices, 2)

Other Claims and 3) Any Reference to the Insurance Industry’s Claim Handling in the

Region (Doc. 88) is GRANTED.

       THUS DONE AND SIGNED in Chambers on this 11th day of January, 2024.




                     ____________________________________
                              JAMES D. CAIN, JR.
                      UNITED STATES DISTRICT JUDGE




                                      Page 4 of 4
